                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

 In Re:                                      :   Chapter 11
                                             :
 Woodbridge Group of Companies, LLC          :   Case No.: 17-12560 (JKS)
                                             :
                    Debtor.                  :
                                             :
 Michael Goldberg, as Liquidating Trustee of :
 the Woodbridge Liquidation Trust,           :   MEDIATION STATUS REPORT
 successor in interest to the estates of     :
 Woodbridge Group of Companies, et al.,      :
                                             :
                    Plaintiff,               :   Adv. Proc. No.: 19-50604 (JKS)
 v.                                          :
                                             :
 Ascensus, LLC, dba Provident Trust Group, :
 Custodian for the Benefit of Sheryl A.      :
 Whitlock IRA,                               :
                                             :
 And                                         :
                                             :
 Sheryl A. Whitlock                          :
                                             :
                  Defendants.                :

        In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that the mediation has not been completed and hereby provides a
projected schedule for completion.

          _          A Mediation conference is set to occur on

                     A mediation session needs to be scheduled, but the mediator has been
                     unable to arrange a date and time.

          X          OTHER: Mediation sessions took place on January 25, 2022. The
                     mediator continues to work with the parties to resolve the matter.


Dated: March 16, 2022                        /s/ Ian Connor Bifferato
                                           Ian Connor Bifferato (DE #3273)
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